             Case 2:13-cr-00006-MCE Document 103 Filed 09/13/13 Page 1 of 4


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     Attorney for Defendant
 6
     AVTAR BAINS

 7
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                                EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,                      )       No. 2:13-CR-00006 MCE
11
                                                    )
                                                    )       STIPULATION REGARDING
            Plaintiff,                              )       EXCLUDABLE TIME PERIODS UNDER
12
                                                    )       SPEEDY TRIAL ACT;
     v.                                             )       FINDINGS AND
13
                                                    )       ORDER
14   JIT KAUR, et. al.,                             )
                                                    )
                                                    )
15          Defendants.                             )
                                                    )
16
                                                    )
                                                    )
17
                                                    )
                                                    )
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                                                    )
                                                    )
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                                                    )
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22
                                         STIPULATION
23          Plaintiff United States of America, by and through its counsel of record, and the

24   defendants, by and through each counsel of record, hereby stipulate as follows:
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            1.      By previous order, this matter was set for status on September 12, 2013, at 9:00
26
     a.m.
27

28
            2.      By this stipulation, the defendants now move to continue the status conference



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                 Case 2:13-cr-00006-MCE Document 103 Filed 09/13/13 Page 2 of 4


     until November 21, 2013, at 9:00 a.m., and to exclude time between September 12, 2013, and
 1

 2   November 21, 2013, under Local Code T4. Plaintiff does not oppose this request.

 3          3.       The parties agree and stipulate, and request that the Court find the following:
 4
            a.       The government has represented that the discovery associated with this case
 5
     includes approximately 7,722 pages of investigative reports and related documents in electronic
 6

 7
     form which includes FBI-302s, interview memoranda, the search warrants and affidavit, redacted

 8   transcripts of recorded conversations and telephone calls, business records from the Employment
 9   Development Department, and deposition transcripts from the prior civil case. The government
10
     has also made available for inspection and copying additional business records from the
11
     Employment Development Department. These records are voluminous.
12

13          b.       Counsel for all of the defendants desires additional time to consult with their

14   respective clients, to review the current charges, to conduct investigation and research related to
15
     the charges, to review and copy discovery for this matter, to discuss potential resolutions with
16
     their clients, to prepare pretrial motions, and to otherwise prepare for trial.
17
            c.       Counsel for the defendants believe that failure to grant the above-requested
18

19   continuance would deny them the reasonable time necessary for effective preparation, taking into

20   account the exercise of due diligence.
21
            d.       The government does not object to the continuance.
22
            e.       Based on the above-stated findings, the ends of justice served by continuing the
23

24
     case as requested outweigh the interest of the public and the defendants in a trial within the

25   original date prescribed by the Speedy Trial Act.
26          f.       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
27
     et seq., within which trial must commence, the time period of September 12, 2013, and
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                                                        2
              Case 2:13-cr-00006-MCE Document 103 Filed 09/13/13 Page 3 of 4


     November 21, 2013, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
 1

 2   B(iv) [Local Code T4] because it results from a continuance granted by the Court at defendants’

 3   request on the basis of the Court's finding that the ends of justice served by taking such action
 4
     outweigh the best interest of the public and the defendants in a speedy trial.
 5
            4.      Nothing in this stipulation and order shall preclude a finding that other provisions
 6

 7
     of the Speedy Trial Act dictate that additional time periods are excludable from the period within

 8   which a trial must commence.
 9

10
     IT IS SO STIPULATED.
11
     Dated: September 10, 2013                                     U.S. ATTORNEY
12

13                                                         by:     /s/ David D. Fischer for
                                                                   JARED C. DOLAN
14                                                                 Assistant U.S. Attorney
                                                                   Attorney for Plaintiff
15

16
     Dated: September 10, 2013                                     /s/ David D. Fischer
17                                                                 DAVID D. FISCHER
                                                                   Attorney for Defendant
18
                                                                   Avtar Kaur Bains
19
     Dated: September 10, 2013                                     /s/ David D. Fischer for
20                                                                 DAN KOUKOL
                                                                   Attorney for Defendant
21
                                                                   MO PEGANY
22
     Dated: September 10, 2013                                     /s/ David D. Fischer
23                                                                 DAVID D. FISCHER
24
                                                                   Attorney for Defendant
                                                                   BALKAR SINGH
25
     Dated: September 10, 2013                                     /s/ David D. Fischer for
26                                                                 MICHAEL BIGELOW
27
                                                                   Attorney for Defendant
                                                                   HARVINDER KAUR
28




                                                      3
             Case 2:13-cr-00006-MCE Document 103 Filed 09/13/13 Page 4 of 4



 1

 2   Dated: September 10, 2013                                  /s/ David D. Fischer for
                                                                A. STANLEY KUBOCHI
 3                                                              Attorney for Defendant
                                                                SUKHWINDER KAUR
 4

 5

 6

 7                                             ORDER
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            The next status conference will be set for November 21, 2013, at 9:00 a.m., in Courtroom

11   7 on the fourteenth floor of the Robert T. Matsui Federal Courthouse.
12          IT IS SO ORDERED.
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     Dated: September 12, 2013
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